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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



AIDS VACCINE ADVOCACY
COALITION, et al.,

      Plaintiffs,

v.                                                 Civil Action No. 1:25-cv-00400

DEPARTMENT OF STATE, et al.,

      Defendants.



                                   [PROPOSED] ORDER

       The Court, having fully considered Plaintiffs’ motion for a temporary restraining order

(Dkt. 13), and the record herein, hereby ORDERS that Plaintiffs’ motion is DENIED.

       IT IS SO ORDERED, this day of February, 2025.




                                                           Amir H. Ali
                                                  UNITED STATES DISTRICT JUDGE




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